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                                 Exhibit G

        Order Authorizing Employment and

       Retention of Reilly Pozner LLP as

                          Special Counsel
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------------------x
                                                                   :
 In re                                                             :        Chapter 11 Case No.
                                                                   :
 LEHMAN BROTHERS HOLDINGS INC., et al., :                                    08-13555 (JMP)
                                                                   :
                                     Debtors.                      :        (Jointly Administered)
                                                                   :
                                                                   :
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                    ORDER PURSUANT TO SECTIONS 327(e) AND 328(a)
              OF THE BANKRUPTCY CODE AUTHORIZING THE EMPLOYMENT
              AND RETENTION OF REILLY POZNER LLP AS SPECIAL COUNSEL
              TO DEBTORS, NUNC PRO TUNC TO THE COMMENCEMENT DATE

                     Upon consideration of the application, dated January 14, 2009 (the

 “Application”)1 of Lehman Brothers Holdings Inc. (“LBHI”) and its affiliated debtors in the

 above-referenced chapter 11 cases, as debtors and debtors-in-possession (collectively, the

 “Debtors”), pursuant to sections 327(e) and 328(a) of title 11 of the United States Code (the

 “Bankruptcy Code”) Rule 2014(a) of the Federal Rules of Bankruptcy Procedure (the

 “Bankruptcy Rules”) for authorization to employ and retain Reilly Pozner LLP (“RP”) as special

 counsel to the Debtors nunc pro tunc to the Commencement Date; and upon the Affidavit of

 Michael A. Rollin, a member of RP (the “Rollin Affidavit”), filed in support of the Application;

 and the Court being satisfied, based on the representations made in the Application and the

 Rollin Affidavit, that RP represents no interest adverse to the Debtors or the Debtors’ estates

 with respect to the matters upon which it is to be engaged, under section 327 of the Bankruptcy

 Code as modified by section 1107(b); and the Court having jurisdiction to consider the

 Application and the relief requested therein in accordance with 28 U.S.C. §§ 157 and 1334 and

 the Standing Order M-61 Referring to Bankruptcy Judges for the Southern District of New York
 1
     Capitalized terms that are used but not defined in this order have the meanings ascribed to them in the Application.


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 Any and All Proceedings Under Title 11, dated July 10, 1984 (Ward, Acting C.J.); and

 consideration of the Application and the relief requested therein being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409; and due and proper notice of the Application having been provided in

 accordance with the procedures set forth in the order entered September 22, 2008 governing case

 management and administrative procedures [Docket No. 285] to (i) the United States Trustee for

 the Southern District of New York; (ii) the attorneys for the Official Committee of Unsecured

 Creditors; (iii) the Securities and Exchange Commission; (iv) the Internal Revenue Service; (v)

 the United States Attorney for the Southern District of New York; and (vi) all parties who have

 requested notice in these chapter 11 cases, and it appearing that no other or further notice need be

 provided; and the Court having found and determined that the relief sought in the Application is

 in the best interests of the Debtors, their estates and creditors, and all parties in interest and that

 the legal and factual bases set forth in the Application establish just cause for the relief granted

 herein; and after due deliberation and sufficient cause appearing thereof, it is

                ORDERED that the Application is approved; and it is further

                ORDERED that pursuant to sections 327(e) and 328(a) of the Bankruptcy Code,

 the Debtors are hereby authorized to employ and retain RP as special counsel to the Debtors on

 the terms set forth in the Application and this order, effective nunc pro tunc to the

 Commencement Date, for the matters identified in the Application and in accordance with RP’s

 customary rates in effect from time to time and its disbursement policies; and it is further

        ORDERED that RP shall apply for compensation and reimbursement of expenses in

 accordance with the procedures set forth in sections 330 and 331 of the Bankruptcy Code,

 applicable Bankruptcy Rules, local rules and orders of the Court, guidelines established by the




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 U.S. Trustee, and such other procedures as may be fixed by order of this Court, including but not

 limited to the Court’s Order Pursuant to Sections 105(a) and 331 of the Bankruptcy Code and

 Bankruptcy Rule 2016(a) Establishing Procedures for Interim Monthly Compensation and

 Reimbursement of Expenses of Professionals.

 Dated: January 28, 2009
        New York, New York

                                          /s/ James M. Peck______________________
                                          UNITED STATES BANKRUPTCY JUDGE




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                                 Exhibit H

                  Fourth Amended Monthly

                    Compensation Order
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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK

                                                   x
 In re                                             :           Chapter 11
                                                   :
 LEHMAN BROTHERS HOLDINGS, INC. et al.,            :           Case No. 08-13555 (JMP)
                                                   :
                               Debtors.            :           (Jointly Administered)
                                                   x


        FOURTH AMENDED ORDER PURSUANT TO SECTIONS 105(a)
         AND 331 OF THE BANKRUPTCY CODE AND BANKRUPTCY
     RULE 2016(a) ESTABLISHING PROCEDURES FOR INTERIM MONTHLY
   COMPENSATION AND REIMBURSEMENT OF EXPENSES OF PROFESSIONALS

         Upon the proposed amended order filed March 11, 2011 and April 6, 2011 (the “Fourth

 Amended Order”) of Lehman Brothers Holdings Inc. and its affiliated debtors in the

 above-referenced chapter 11 cases, as debtors and debtors-in-possession (collectively, the

 “Debtors” and, together with their non-debtor affiliates, “Lehman”), pursuant to sections 105(a)

 and 331 of chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and

 Rule 2016(a) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), to

 establish procedures for interim monthly compensation and reimbursement of expenses of

 professionals (the “Professionals”)—all as more fully described in the Debtors’ Motion Pursuant

 to Sections 105(a) and 331 of the Bankruptcy Code and Bankruptcy Rule 2016(a) for

 Authorization to Establish Procedures for Interim Monthly Compensation and Reimbursement of

 Expenses of Professionals, dated October 11, 2008 (the “Motion”) [Docket No. 833]—and upon

 the notice of presentment of the proposed Fourth Amended Order; and the Court having

 jurisdiction to consider the proposed Fourth Amended Order and the relief requested therein in

 accordance with 28 U.S.C. §§ 157 and 1334 and the Standing Order M-61 Referring to

 Bankruptcy Judges for the Southern District of New York Any and All Proceedings Under
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 Title 11, dated July 10, 1984 (Ward, Acting C.J.); and consideration of the Motion and the

 proposed Fourth Amended Order and the relief requested therein being a core proceeding

 pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to 28 U.S.C.

 §§ 1408 and 1409; and due and proper notice of the proposed Fourth Amended Order having

 been provided in accordance with the procedures set forth in the second amended order entered

 June 17, 2010 governing case management and administrative procedures [Docket No. 9635] to

 (i) the United States Trustee for the Southern District of New York; (ii) the attorneys for the

 Official Committee of Unsecured Creditors; (iii) the Securities and Exchange Commission;

 (iv) the Internal Revenue Service; (v) the United States Attorney for the Southern District of

 New York; (vi) all parties who have requested notice; and (iii) all Professionals; and the Court

 having entered an amended order, dated June 25, 2009 (the “Third Amended Order”) [Docket

 No. 4165], governing the procedures for interim monthly compensation and reimbursement of

 expenses of professionals; and the Court then concluding that there is cause to make certain

 amendments to the Third Amended Order; and the relief sought in the proposed Fourth Amended

 Order being in the best interests of the Debtors, their estates and creditors, and all parties in

 interest and that the legal and factual bases set forth in the Motion and the proposed Fourth

 Amended Order establish just cause for the relief granted herein; and after due deliberation and

 sufficient cause appearing therefore, it is

        ORDERED that the Third Amended Order is superseded in its entirety by this Fourth

 Amended Order; and it is further

        ORDERED that except as may otherwise be provided in orders of the Court authorizing

 the retention of specific Professionals, all Professionals in these cases may seek monthly




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 compensation in accordance with the following procedures (the “Interim Compensation

 Procedures”):

       (a)       On or before the forty-fifth (45th) day following the month for which
                 compensation is sought, each professional seeking compensation, other than a
                 professional retained as an ordinary course professional or a professional retained
                 by the Examiner appointed in these Chapter 11 cases, will serve a monthly
                 statement (the “Monthly Statement”), by hand or overnight delivery on
                 (i) Lehman Brothers Holdings Inc., 1271 Avenue of the Americas, 45th Floor,
                 New York, New York, 10020 (Attn: John Suckow and William Fox); (ii) Weil,
                 Gotshal & Manges, LLP, 767 Fifth Avenue, New York, New York 10153
                 (Attn: Shai Y. Waisman, Esq.); (iii) Milbank, Tweed, Hadley & McCloy LLP,
                 1 Chase Manhattan Plaza, New York, New York 10005 (Attn: Dennis F. Dunne,
                 Esq., Dennis O’Donnell, Esq., and Evan Fleck, Esq.), attorneys for the Creditors’
                 Committee; (iv) the Office of the United States Trustee for the Southern District
                 of New York, 33 Whitehall Street, 22nd Floor, New York, New York 10004
                 (Attn: Elisabetta G. Gasparini and Andrea B. Schwartz); and, (v) Richard Gitlin,
                 Chair of the Fee Committee (as defined in the Order Appointing a Fee Committee
                 and Approving a Fee Protocol, dated May 26, 2009 [Docket No. 3651], all as may
                 be amended from time to time, the “Fee Protocol”) c/o Godfrey & Kahn, S.C.,
                 One East Main Street, P.O. Box 2719, Madison, WI 53701-2719 (the “Notice
                 Parties”). In addition to being served with a paper copy, the Office of the United
                 States Trustee, Richard Gitlin through Godfrey & Kahn, and Lehman Brothers
                 Holdings, Inc. shall also be served with a disc containing an electronic version of
                 the Monthly Statement.

       (b)       The Monthly Statement need not be filed with the Court and a courtesy copy need
                 not be delivered to chambers since this Fourth Amended Order is not intended to
                 alter the fee application requirements outlined in sections 330 and 331 of the
                 Bankruptcy Code and since professionals are still required to serve and file
                 interim and final applications for approval of fees and expenses in accordance
                 with the relevant provisions of the Bankruptcy Code, the Bankruptcy Rules, and
                 the Local Rules for the United States Bankruptcy Court for the Southern District
                 of New York (the “Local Rules”).

       (c)       Each Monthly Statement must contain a list of the individuals and their respective
                 titles (e.g., attorney, paralegal, etc.) who provided services during the statement
                 period, their respective billing rates, the aggregate hours spent by each individual,
                 a reasonably detailed breakdown of the fees and expenses incurred (no
                 professional should seek reimbursement of an expense that would otherwise not
                 be allowed pursuant to the Court’s Administrative Orders dated June 24, 1991 and
                 April 21, 1995 or the United States Trustee Guidelines for Reviewing
                 Applications for Compensation and Reimbursement of Expenses Filed under
                 11 U.S.C. § 330 dated January 30, 1996), and contemporaneously maintained
                 time entries for each individual in increments of tenths (1/10) of an hour or as
                 close thereto as practicable.


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      (d)     Each Notice Party shall have at least thirty (30) days after receiving the Monthly
              Statement to review the statement and, if the Notice Party objects to the
              compensation or expense reimbursement sought in a particular statement, such
              Notice Party shall, no later than the thirty-first (31st) day following receipt of the
              Monthly Statement (the “Monthly Statement Objection Deadline”), serve upon
              the professional to whose Monthly Statement the Notice Party objects and the
              other Notice Parties a written “Notice of Objection to Fee Statement,” setting
              forth the nature of the Notice Party’s objection and the amount of fees or expenses
              at issue.

      (e)     At the expiration of the Monthly Statement Objection Deadline, the Debtors shall
              promptly pay eighty percent (80%) of the fees and one hundred percent (100%) of
              the expenses identified in each Monthly Statement to which no objection has been
              served in accordance with paragraph (d) above.

      (f)     If the Debtors object or receive an objection to a particular Monthly Statement,
              the Debtors shall withhold payment of that portion of the Monthly Statement to
              which the objection is directed and promptly pay the remainder of the fees and
              disbursements in the percentages set forth in paragraph (e).

      (g)     If the parties to an objection resolve their dispute following the service of a Notice
              of Objection to Fee Statement and if the party whose Monthly Statement was
              objected to serves on all Notice Parties a statement indicating that the objection is
              withdrawn or modified and describing the terms of the resolution, then the
              Debtors shall promptly pay, in accordance with paragraph (e), that portion of the
              Monthly Statement that is no longer subject to an objection.

      (h)     All objections that the parties do not resolve shall be preserved and presented to
              the Court at the next interim or final fee application hearing to be heard by the
              Court in accordance with paragraph (j) below.

      (i)     The service of an objection in accordance with paragraph (d) above shall not
              prejudice the objecting party’s right to object to any fee application made to the
              Court in accordance with the Bankruptcy Code on any ground regardless of
              whether the objecting party raised the ground in the objection or not.
              Furthermore, the decision by any party not to object to a Monthly Statement shall
              not waive or prejudice that party’s right to object to any fee application
              subsequently made to the Court in accordance with the Bankruptcy Code,
              including any final application.

      (j)     Commencing with the period ending January 31, 2009, and at four-month
              intervals thereafter, each of the professionals shall file with the Court, in
              accordance with General Order M-242 (which can be found at
              www.nysb.uscourts.gov), an application (an “Interim Fee Application”) for
              interim Court approval and allowance pursuant to sections 330 and 331 of the
              Bankruptcy Code (as the case may be) of the compensation and reimbursement of
              expenses requested in the fee statements served during such period (the “Interim


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                  Fee Period”). Each professional shall file its Interim Fee Application within
                  75 days after the end of the Interim Fee Period for which the request seeks
                  allowance of fees and reimbursement of expenses.1 Each professional shall file
                  its first Interim Fee Application on or before April 10, 2009 and the first Interim
                  Fee Application shall cover the Interim Fee Period from the Commencement Date
                  through and including January 31, 2009. All professionals not retained as of the
                  Commencement Date shall file their first Monthly Statement for the period from
                  the effective date of their retention through the end of the first full month
                  following the effective date of their retention and otherwise in accordance with
                  the procedures set forth in this Motion.

         (k)      The Debtors’ attorneys shall obtain a date from the Court for the hearing of fee
                  applications for all retained professionals, which hearing date should be consistent
                  with the timelines set forth in the Fee Protocol, as amended from time to time.
                  Any retained professional unable to file its own fee application with the Court
                  shall deliver to the Debtors’ attorneys a fully executed copy with original
                  signatures, along with service copies, three business days before the filing
                  deadline. The Debtors’ attorneys shall file and serve such application.

         (l)      The pendency of an application or objection or a Court order that payment of
                  compensation or reimbursement of expenses was improper as to a particular
                  Monthly Statement shall not disqualify a professional from the future payment of
                  compensation or reimbursement of expenses as set forth above, unless otherwise
                  ordered by the Court.

         (m)      Neither the payment of, nor the failure to pay, in whole or in part, monthly
                  compensation and reimbursement as provided herein shall have any effect on this
                  Court’s interim or final allowance of compensation and reimbursement of
                  expenses of any professionals.

         (n)      Counsel for the Creditors’ Committee may, in accordance with the Interim
                  Compensation Procedures, collect and submit statements of expenses (excluding
                  third-party counsel expenses of individual committee members), with supporting
                  vouchers, from members of the Creditors’ Committee; provided, however, that
                  these reimbursement requests comply with this Court’s Administrative Orders
                  dated June 24, 1991 and April 21, 1995.

         (o)      Any Professional that materially fails to comply with this Order shall (1) be
                  ineligible to receive further monthly payments of fees or expenses as provided
                  herein until further order of this Court and (2) may be required to disgorge any
                  fees paid since retention or the last fee application, whichever is later.

 And, it is further


 1
  For the seventh interim fee period (October 1, 2010 through January 31, 2011), any Retained Professional may, but
 need not, take an additional forty-five (45) days to file its Interim Fee Application.



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        ORDERED that the Debtors shall include all payments to Professionals on their monthly

 operating reports, detailed by line item so as to state the amount paid to each of the

 Professionals, and detailed so as to state the amount paid to ordinary course professionals (which

 may be aggregated into one line item); and it is further

        ORDERED that the amount of fees and disbursements sought be set out in U.S. dollars,

 with the conversion amount calculated at the time of the submission of the Monthly Statement, to

 the extent practicable, or as soon thereafter as possible.

        ORDERED that any party may object to requests for payments made pursuant to this

 Fourth Amended Order, or move to modify or vacate all or certain provisions of this Fourth

 Amended Order, on the grounds that (a) the Debtors have not timely filed monthly operating

 reports, (b) the Debtors have not remained current with their administrative expenses or fees due

 under 28 U.S.C. § 1930(a)(6), (c) the Debtors are administratively insolvent or approaching

 insolvency, and (d) cause otherwise exists; provided, however, that the inclusion in this Fourth

 Amended Order of the foregoing bases shall not be determinative of the validity of any such

 bases and all parties’ rights are expressly reserved; and it is further

        ORDERED that, in the event that an Ordinary Course Professional (as such term is

 defined in the Order Pursuant to Sections 105(1), 327, 328, and 330 of the Bankruptcy Code

 Authorizing the Debtors to Employ Professionals Utilized in the Ordinary Course of Business

 [Docket No. 1394] (the “OCP Order”)) or a professional retained by the Examiner seeks more

 than $150,000 per month and, as set forth in the OCP Order or the Order Discharging Examiner

 and Granting Related Relief [Docket No. 10169] (as applicable), files a fee application for the

 full amount of its fees and expenses for that month, then the Debtors’ attorneys shall obtain a




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 date from the Court for the hearing of the fee application, which shall be scheduled no earlier

 than 30 days after the fee application is served on the Notice Parties; and it is further

          ORDERED that all time periods set forth in this Fourth Amended Order shall be

 calculated in accordance with Rule 9006(a) of the Federal Rules of Bankruptcy Procedure; and it

 is further

          ORDERED that sending notice of the hearing to consider Interim Fee Applications to the

 Standard Parties entitled to notice pursuant to the Court’s second amended order entered on

 June 17, 2010 governing case management and administrative procedures for these cases

 [Docket No. 9635] shall be good and sufficient notice; and it is further

          ORDERED that that this Court shall retain jurisdiction to interpret and enforce this

 Order.



 Dated: New York, New York
        April 14, 2011
                                           s/ James M. Peck
                                        Honorable James M. Peck
                                        United States Bankruptcy Judge




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